         Case 19-00561-JMM              Doc 100 Filed 08/20/22 Entered 08/20/22 22:18:27                                   Desc
                                      Imaged Certificate of Notice Page 1 of 3
                                   UNITED STATES BANKRUPTCY COURT

                                               DISTRICT OF IDAHO


In Re:                                                      )
                                                            )
Jason S. Monroe                                             )    Case Number:      19−00561−JMM
1125 E Locust Ln                                            )
Nampa, ID 83686                                             )    Chapter Number: 13
                                                            )
Social Security No.: xxx−xx−5542                            )
Employer's Tax I.D. No.:                                    )
                                                            )
                        Debtor                              )
                                                            )
____________________________________________

                                              ORDER OF DISMISSAL


The debtor(s) having made a motion that the above entitled case be dismissed pursuant to 11 U.S.C. 1307 (b)

AND NO HEARING on the motion being required, this case is HEREBY DISMISSED on 8/18/22 .

Creditors are notified that they will receive no future payments from the trustee and may look to the debtor(s) directly
for payment of their claims.

The Court reserves jurisdiction to receive and pass upon final account and report in this case and to make orders with
respect thereto.




                                                                 Stephen W Kenyon
Dated: 8/18/22                                                   Clerk, U.S. Bankruptcy Court
            Case 19-00561-JMM                     Doc 100 Filed 08/20/22 Entered 08/20/22 22:18:27                                               Desc
                                                Imaged Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                     District of Idaho
In re:                                                                                                                 Case No. 19-00561-JMM
Jason S. Monroe                                                                                                        Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0976-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 18, 2022                                               Form ID: odsm                                                             Total Noticed: 20
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 20, 2022:
Recip ID                   Recipient Name and Address
db                     +   Jason S. Monroe, 1125 E Locust Ln, Nampa, ID 83686-8450
tr                     +   Kathleen A. McCallister, POB 1150, Meridian, ID 83680-1150
cr                     +   David Crosby, Shep Law Group, 1990 North Meridian Road, Meridian, ID 83646-1641
cr                     +   Fay Servicing LLC, P.O. Box 1544, P.O. Box 1544, Boise, ID 83701-1544
cr                     +   Fay Servicing, LLC as servicer for Wilmington Trus, 2001 Western Ave, Ste 400, Seattle, WA 98121-3132
5030555                +   David Crosby, c/o Shep Law Group, 1990 North Meridian Road, Meridian, ID 83646-1641
5024989                +   Julie Kathleen Treasure, 3624 Ringneck Dr., Nampa, ID 83686-1302
5024991                +   Michael Archibald, M2 Law Group, PC, PO Box 330, Meridian, ID 83680-0330
5024992                +   Michael B. Howell, M2 Law Group, PC, PO Box 330, Meridian, ID 83680-0330
5024993                +   Ronald R Shepherd, Shep Law Group, 1990 N Meridian Rd, Meridian, ID 83646-1641
5024994                +   Transworld Systems, Inc., c/o CT Corporation System, 921 S. Orchard St., Ste G, Boise, ID 83705-1992
5039181                    Wilmington Trust, National Association, Fay Servicing, LLC, PO Box 814609, Dallas TX 75381-4609

TOTAL: 12

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: bknotice@mccarthyholthus.com
                                                                                        Aug 18 2022 22:52:00      Wilmington Trust, National Association, not in its,
                                                                                                                  c/o McCarthy & Holthus, LLP, 702 W. Idaho St.,
                                                                                                                  Suite 1100, Boise, ID 83702-8902
5024986                + EDI: CAPITALONE.COM
                                                                                        Aug 19 2022 02:53:00      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
5039062                    EDI: CAPITALONE.COM
                                                                                        Aug 19 2022 02:53:00      Capital One Bank (USA), N.A., by American
                                                                                                                  InfoSource as agent, PO Box 71083, Charlotte, NC
                                                                                                                  28272-1083
5024988                    Email/Text: ECF@fayservicing.com
                                                                                        Aug 18 2022 22:52:00      Fay Servicing Llc, Attn: Bankruptcy Dept, Po Box
                                                                                                                  809441, Chicago, IL 60680
5153503                    Email/Text: ECF@fayservicing.com
                                                                                        Aug 18 2022 22:52:00      Fay Servicing, LLC, P.O. Box 814609, Dallas, TX
                                                                                                                  75381-4609
5032142                + Email/Text: bankruptcynotices@tax.idaho.gov
                                                                                        Aug 18 2022 22:52:00      Idaho State Tax Commission, PO Box 36, Boise,
                                                                                                                  ID 83722-0036
5060769                    EDI: IRS.COM
                                                                                        Aug 19 2022 02:53:00      Internal Revenue Service, PO Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
5153502                    Email/Text: bknotice@mccarthyholthus.com
                                                                                        Aug 18 2022 22:52:00      McCarthy & Holthus, LLP, 702 W. Idaho St.,
                                                                                                                  Suite 1100, Boise, ID 83702

TOTAL: 8


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
             Case 19-00561-JMM                  Doc 100 Filed 08/20/22 Entered 08/20/22 22:18:27                                              Desc
                                              Imaged Certificate of Notice Page 3 of 3
District/off: 0976-1                                                User: admin                                                                Page 2 of 2
Date Rcvd: Aug 18, 2022                                             Form ID: odsm                                                            Total Noticed: 20
5024990                          Julie Treasure
aty               *+             Kathleen A. McCallister, POB 1150, Meridian, ID 83680-1150

TOTAL: 1 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 20, 2022                                         Signature:            /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 18, 2022 at the address(es) listed
below:
Name                             Email Address
David M Swartley
                                 on behalf of Creditor Wilmington Trust National Association, not in its individual capacity, but solely as trustee for MFRA Trust
                                 2014-2 bknotice@mccarthyholthus.com, dswartley@ecf.courtdrive.com

Jeffrey Philip Kaufman
                                 on behalf of Trustee Kathleen A. McCallister jpk@kam13trustee.com

Jon R Wilson
                                 on behalf of Debtor Jason S. Monroe jon@boiselaw.org
                                 boiselaw.jon@gmail.com;boiselaw.theresa@gmail.com;jerri@boiselaw.org;wilsonlawoffice1@gmail.com;r60436@notify.bestcas
                                 e.com

Kathleen A. McCallister
                                 on behalf of Trustee Kathleen A. McCallister kam@kam13trustee.com
                                 kmccallister13@ecf.epiqsystems.com;documents13@kam13trustee.com

Kathleen A. McCallister
                                 kam@kam13trustee.com kmccallister13@ecf.epiqsystems.com;documents13@kam13trustee.com

Louis V. Spiker
                                 on behalf of Creditor Fay Servicing LLC lvs@johnsonmaylaw.com jfb@johnsonmaylaw.com

Michael H Hekman
                                 on behalf of Creditor Fay Servicing LLC as servicer for Wilmington Trust, National Association, not in its individual capacity,
                                 but solely as trustee for MFRA Trust 2014-2 mhhekman@garlington.com, jmdeshner@garlington.com

Ronald Robert Shepherd
                                 on behalf of Creditor David Crosby ron@rshepherdlaw.com brenda@rshepherdlaw.com

US Trustee
                                 ustp.region18.bs.ecf@usdoj.gov

William L Bishop
                                 on behalf of Creditor Wilmington Trust National Association, not in its individual capacity, but solely as trustee for MFRA Trust
                                 2014-2 BillB@w-legal.com, TPerry@oakharbormanagement.com,DMartinez@OakHarborManagement.com

William L Bishop
                                 on behalf of Creditor Fay Servicing LLC as servicer for Wilmington Trust, National Association, not in its individual capacity,
                                 but solely as trustee for MFRA Trust 2014-2 BillB@w-legal.com,
                                 TPerry@oakharbormanagement.com,DMartinez@OakHarborManagement.com


TOTAL: 11
